USCA Case #21-1198               Document #1984553               Filed: 02/03/2023      Page 1 of 1

                     United States Court of Appeals
                                  FOR T HE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________


No. 21-1198                                                       September Term, 2022
                                                                           FERC-ER18-1639-013
                                                                           FERC-ER18-1639-000
                                                                           FERC-ER18-1639-010
                                                         Filed On: February 3, 2023 [1984553]
Constellation Mystic Power, LLC,

                   Petitioner

         v.

Federal Energy Regulatory Commission,

                   Respondent

------------------------------

Maura Healey, Attorney General of the
Commonwealth of Massachusetts, et al.,
                   Intervenors
------------------------------

Consolidated with 21-1222, 21-1223,
21-1224, 22-1001, 22-1008, 22-1026

                                              ORDER

         Upon consideration of the unopposed motion to govern, it is

        ORDERED that these consolidated cases remain in abeyance pending further order
of the court. The parties are directed to file motions to govern future proceedings by April
24, 2023.


                                                                FOR THE COURT:
                                                                Mark J. Langer, Clerk

                                                        BY:     /s/
                                                                Catherine J. Lavender
                                                                Deputy Clerk
